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UN|TED STATES OF AMER|CA

v. Case No. 8:15-cr- Z.L'&} ,\~'5(0 Pr&€

18 U.S.C. § 241
PASCUAL CARLOS PlETRl
a/k/a “Pete”
lNFORMATlON
The United States Attorney charges:

COUNT ONE
(Conspiracy Against Rights)

A. introduction

At all times relevant to this |nformation:

1. The defendant, PASCUAL CARLOS P|ETR|, a/k/a “Pete,“ was a
white male who was residing in a house on Seward Drive in Port Richey, F|orida.
with co-conspirator T.S., also a white ma|e.

2. Co-conspirator W.D. was a white male who was residing in a house
on Seward Drive in Port Richey, F|orida.

3. Co-conspirator J.S. was a white male who was residing in a house
on Seward Drive in Port Richey, F|orida.

4. D.M. was a black male who was residing in a house on Seward Drive

in Port Richeyl F|orida. with K.L, a white woman.

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B. The Consgiracy
5. On or about October 31, 2012, in Pasco Countyl in the l\/liddle District

of F|orida.

PASCUAL CARLOS P|ETR|,
alkla “Pete,”

the defendant hereinl did knowingly and willfully conspire, combine, and agree
with other persons known and unknown to the United States Attorney, including,
but not limited to, W.D., J.S., and T.S., to injure. oppress, threatenl and intimidate
any personl to wit, D.M. and K.L., in the free exercise and enjoyment of any right
and privilege secured to said person by the Constitution and laws of the United
States, that is, the right to rent, hold, and occupy a dwelling without injuryl
intimidation, and interference because of said person’s race and color.
C. Obiect of the Conspiracy

6. lt was part of the plan and purpose of this conspiracy that the
co-conspirators would and did construct a wooden cross, transport the cross to the
front yard of the dwelling occupied by D.M. and K.L. in Port Richey, F|oridal and
burn the cross in an effort to intimidate and interfere with the victims’ occupancy

and enjoyment of their home.

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D. Overt Acts
7. ln furtherance of the conspiracy, and to accomplish the goalsl
purposes, and objectives of the conspiracy, the defendant, PASCUAL CARLOS
PlETRl, and his co-conspirators committed and caused to be committed overt acts
on or about October 31, 2012, in the Middle District of F|orida. including, but not
limited to, the following:

a. Co-conspirator J.S. provided co-conspirators W.D. and T.S.
with wood, nails, and tools to construct a cross.

b. Co-conspirators W.D. and T.S. constructed a cross at
co-conspirator J.S.'s residence

c. Co-conspirators W.D. and T.S. summoned the defendant,
PASCUAL CARLOS PlETRl, to co-conspirator J.S.’s residence.

d. Co~conspirator W.D. obtained from co-conspirator J.S. a
flammable liquid and poured the liquid on the wooden cross at co-conspirator
J.S.’s residence.

e. Co~conspirator W.D. and the defendant, PASCUAL CARLOS
PlETRl, transported the wooden cross from co-conspirator J.S.’s residence to the
front yard of D.M.’s and K.L.’s residence on Seward Drive, Port Richey, F|orida.
and placed the wooden cross in a standing. upright position against D.M.’s and
K.L.’s mailbox.

f. Co-conspirator W.D. instructed the defendant, PASCUAL

CARLOS PlETRl, to set the wooden cross on fire.

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g_ The defendant, PASCUAL CARLOS P|lETFi|l set the wooden

cross on fire in the front yard of D.M.‘S and K.l_’s residence on Seward Drive in Port

Richey, F|orida.

A|| in violation of Tit|e 18, United States Code. Section 241.

By:

By:

A. LEE BENTLEY, ||l
United States Attorney

\/AN|TA GUPTA
Principal Deputy Assistant
Attorney Genera|

QM/w-

JO§EPH|NE W, THOIVIAS
Assistant United States Attorney

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Chief, Genera| Crimes Section

 

